           Case 3:12-cr-00077-BEN Document 61 Filed 11/02/21 PageID.116 Page 1 of 2
AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                               V.

 EDUARDO ALBERTO PADILLA-VILLAGRANA (1)                                 Case Number: 12CR0077-BEN

                                                                     FD BY MICHELLE BETANCOURT
                                                                     Defendant’s Attorney
REGISTRATION NO.               30835298
    -
☐
THE DEFENDANT:
☒ admitted guilt to violation of allegation(s) No.         1 OF THE ORDER TO SHOW CAUSE.

☐ was found guilty in violation of allegation(s) No.                                                  after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation

              1                   nv8, Failure to be truthful and/or follow instructions
                                  .
                                  .
                                  .
                                  .
                                  .
    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

                                                                     November 1, 2021
                                                                     Date of Imposition of Sentence



                                                                     HON. Roger T. Benitez
                                                                     UNITED STATES DISTRICT JUDGE
           Case 3:12-cr-00077-BEN Document 61 Filed 11/02/21 PageID.117 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                EDUARDO ALBERTO PADILLA-VILLAGRANA (1)                                   Judgment - Page 2 of 2
CASE NUMBER:              12CR0077-BEN

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ELEVEN (11) MONTHS.




 ☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ☐     The court makes the following recommendations to the Bureau of Prisons:




 ☐     The defendant is remanded to the custody of the United States Marshal.

 ☐     The defendant shall surrender to the United States Marshal for this district:
       ☐     at                             A.M.              on
       ☐     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 ☐
       Prisons:
       ☐     on or before
       ☐     as notified by the United States Marshal.
       ☐     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       12CR0077-BEN
